Case 1:12-md-02358-JDW          Document 105      Filed 06/20/13    Page 1 of 1 PageID #: 1833




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

  IN RE GOOGLE INC. COOKIE PLACEMENT                     C.A. No. 1:12-MD-2358 (SLR)
  CONSUMER PRIVACY LITIGATION


  This Document Relates to:

  All Actions


      REQUEST FOR ORAL ARGUMENT ON VIBRANT MEDIA INC.’S MOTION TO
           DISMISS THE CONSOLIDATED CLASS ACTION COMPLAINT


           Pursuant to Local Rule 7.1.4, Defendant Vibrant Media Inc. (“Vibrant”) hereby

  respectfully requests oral argument on its Motion to Dismiss the Consolidated Class Action

  Complaint (D.I. 93). The briefing on the Motion (D.I. Nos. 94, 101, 102) was completed on June

  19, 2013.

                                                /s/ Travis S. Hunter
  OF COUNSEL:                                  Kelly E. Farnan (#4395)
  Edward P. Boyle                              Rudolf Koch (#4947)
  David N. Cinotti                             Travis S. Hunter (#5350)
  Joeann E. Walker                             Richards, Layton & Finger
  Venable LLP                                  One Rodney Square
  Rockefeller Center                           920 North King Street
  1270 Avenue of the Americas                  Wilmington, DE 19801
  New York, NY 10020                           (302) 651-7500
  (212) 307-5500                               farnan@rlf.com
  epboyle@venable.com                          koch@rlf.com
  dncinotti@venable.com                        hunter@rlf.com
  jewalker@venable.com

  Dated: June 20, 2013
                                               Attorneys for Defendant Vibrant Media Inc.




  RLF1 8794050v.1
